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                                                                                                    EXHIBIT                                  Caye Financial Centre
                                                                                                                              Corner Coconut Drive & Hurricane way


                                         Georgetown Trust Ltd
                                                                                                                                                        Third Floor
                                                                                                              4                   San Pedro Town, Ambergris Caye
                                                                                                                                           Belize, Central America.
                                                                                                                                          Phone # +501-226-3569
#455                                                                                                                                          Fax # +501-226-2497
                                                       Trust Account Statement - Third Quarter 2022
                    Client: The Walsh International & Irrevocable Family Trust                                        Date:              30th September 2022
                    Email: patrick.walsh@airships.com                                                      Date registered:                    30th July, 2020
                                                                                                           Settlement date:                 17th August, 2020
                                                                                                                  Trust #
                                                                                    Assets
                              Date of         # of         Original          Original        Last month       Current Share     Current
         Assets                                                                                                                                   Gain/(Loss)
                            Investment       shares      Price/Value      Value/Amount       Asset Value          Price        Asset Value
 CIBL - Bank Account         11-Feb-21                                        $4,980.00       $8,420.41                          $8,405.91

                                                            TOTALS:-         $4,980.00       $8,420.41                          $8,405.91            $0.00

                                                                  Cash Account - US$ (Internal)
         2022                                                  Description                                         Debit          Credit         Cash Balance
         1st July          Balance carried forward from 2nd quarter 2022 statement                                                                  ($375.00)

       10th August         Transfer of funds from Client's account with Caye Bank                                                 $375.00



                           Total cash in US$.                                                                                                         $0.00
                           Cash & Assets                                                          $8,405.91
                           Quarterly Management Fee                                                  0.00%        $375.00
                           Available Cash Balance (due to Georgetown)                                                                              ($375.00)


          Income Summary - 2022                                        2022                                                   Asset Summary
                                            Year-to-     Unrealized           Expense                                          Last Month           Current
                            This Month                   Gain/Loss
                                              Date                           Summary                                          Account Value      Account Value
            Dividend          $0.00          $0.00         $0.00              $375.00                                    Cash    $0.00             ($375.00)
              Interest        $0.00          $0.00                                                                     Assets   $8,420.41          $8,405.91
         Total Income         $0.00          $0.00          $0.00            $1,125.00                            Total Value $8,420.41           $8,030.91
